Case 2:23-cv-03555-KSM Document 1-4 Filed 09/13/23 Page 1 of 10




EXHIBIT “B”
Case 2:23-cv-03555-KSM Document 1-4 Filed 09/13/23 Page 2 of 10
Case 2:23-cv-03555-KSM Document 1-4 Filed 09/13/23 Page 3 of 10
Case 2:23-cv-03555-KSM Document 1-4 Filed 09/13/23 Page 4 of 10
Case 2:23-cv-03555-KSM Document 1-4 Filed 09/13/23 Page 5 of 10
Case 2:23-cv-03555-KSM Document 1-4 Filed 09/13/23 Page 6 of 10
Case 2:23-cv-03555-KSM Document 1-4 Filed 09/13/23 Page 7 of 10
Case 2:23-cv-03555-KSM Document 1-4 Filed 09/13/23 Page 8 of 10
Case 2:23-cv-03555-KSM Document 1-4 Filed 09/13/23 Page 9 of 10
Case 2:23-cv-03555-KSM Document 1-4 Filed 09/13/23 Page 10 of 10
